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FORM TO BE USED BY A PRISONER IN FILING A CIVIL RIGHTS COMPLAINT

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

() Jose Montenez ew 9233

 

 

 

 

 

(Name of Plaintiff) (Inmate Number)
OCT Huntmaden
(Address) ~
(2) :
(Name of Plaintiff) (Inmate Number) : 3s A ot = C V- (2 67
: (Case Number)
(Address)

(Each named party must be numbered,
and all names must be printed or typed)

vs. : CIVIL COMPLAINT

 

 

 

(1) Posebe Price, Ve. Mal} t. Ms- Natley, : FILED
(2) Nucse Mel, Set: Heontingedn’s Supetin» : SCRANTON
| @tendent, De Preston, Mo Biers; AUG 1 2 2022
(Names of Defendants) ° f)

 

: PER —Sarren a
(Each named party must be numbered, : D TY CLERK

and all names must be printed or typed)

TO BE FILED UNDER: uf 42 U.S.C. § 1983 - STATE OFFICIALS
28 U.S.C. § 1331 - FEDERAL OFFICIALS

I. PREVIOUS LAWSUITS

A, If you have filed any other lawsuits in federal court while a prisoner, please list the caption and case
number including year, as well as the name of the judicial officer to whom it was assigned:

Dose Menteaez Vv, Lynch , No. 3:90-cv¥- 17 (2614)

 

 

 

 

 

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EXHAUSTION OF ADMINISTRATIVE REMEDIES

In order to proceed in federal court, you must fully exhaust any available administrative remedies as to
each ground on which you request action.

A. Is there a prisoner grievance procedure available at your present institution? Jv Yes No

B. Have you fully exhausted your available administrative remedies regarding each of your present
claims? WV Yes No

C. If your answer to “B” is Yes:

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2. What was the result? My Grvevencers were dented ak

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Dp: If your answer to “B” is No, explain why not: —_ ee
ee

DEFENDANTS

(1) Name of first defendant: Youle Once

Employed as \fealth Care Admostrbrat Sct Hembing don

 

 

 

 

Mailing address: 3 eT Huntrnadon

~ (2) Name of second defendant: —_ De. Mabhli
Employedas_ _Dector at STI~ Huntingdan
Mailing address: SCF — Huntinaden -

 

(3) Name of third defendant: Cabreipe. Nejtey
Employed as Physic i at ‘€cr Hunhingden
Mailing address: IEX- Duntdinedon
(List any additional defendants, their employment, and addresses on extra sheets if necessary)

- STATEMENT OF CLAIM

(State here as briefly as possible the facts of your case. Describe how each defendant is involved, including

dates and places. Do not give any legal arguments or cite any Cases or statutes. Attach no more than three
extra sheets if necessary.)

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Case 3:22-cv-01267-RDM-CA Document1 Filed 08/12/22 Page 3 of 11

__ Aadditeme| Defendants
C4) Name of Vousth deRendast > Nurse Mel

Employed as Nurse. at Sot - Huoctine down

Macleng address SET Vumtrngden —

(5) Name of Fifth defendant > DE Preston
Employed as —Dactor — at _ Set- Rocrcviety

Maclens addcess! _ SCE-~Recktyvew
(6) Name of Sixth defendant, RB. Eilers —

 

 

 

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Mading address: _$ ¢T- Reckyvew

) Neme of Seventh defendant: Dt. Edwards
Emfloyed as Dectol_ at “ser-suutthfietd
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(8) Name of evo wth defiadewt} Macy Patton
Employed as7—Unknawn, at _Stt-smthfreid
Marling address: Stl smthfreid _

(4) Name oF newth defendant: : C. Welefrotd
Employed as iiahtahntel—* + _SCT-SmethFiejd |
Mashing address: "sch seth veld

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Additional D aks *

(0) Name of Tenth Deferdantr_N. Davis

Employed as Registered Nuttsing Supervisor at STP Huxtoyglen
Mashns Addiessi SCT> Huntingdon —
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RELIEF

(State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
statutes.)

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Case 3:22-cv-01267-RDM-CA Document1 Filed 08/12/22 Page 7 of 11

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Case 3:22-cv-01267-RDM-CA Document1 Filed 08/12/22 Page 8 of 11

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I declare under penalty of perjury that the foregoing is true and correct.

Signed this q Th day of Ausest 2692.

Omi Aavilem~
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(Signature of Plaintify
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FORMS TO BE COMPLETED BY PRISONERS FILING A CIVIL RIGHTS
COMPLAINT UNDER 42 U.S.C. § 1983 or 28 U.S.C. § 1331

COVER SHEET

THIS COVER SHEET CONTAINS IMPORTANT INFORMATION ABOUT FILING A
COMPLAINT AND YOUR OBLIGATIONS IF YOU DO FILE A COMPLAINT. READ AND
COMPLETE THE COVER SHEET BEFORE YOU PROCEED FURTHER.

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The cost for filing a civil rights complaint is $350.00.

TF you do not have sufficient funds to pay the full filing fee of $350.00 you need permission to proceed in forma pauperis.
However, the court will assess and, when funds exist, immediately collect an initial partial filing fee of 20 percent of the
greater of:

1) the average monthly deposits to your prison account for the past six months; or
2) the average monthly balance in your prison account for the past six months.

Thereafter, the institution in which you are incarcerated will be required to make monthly payments of 20% of the preceding
month's deposits credited to your account until the entire filing fee is paid.

CAUTION: YOUR OBLIGATION TO PAY THE FULL FILING FEE WILL CONTINUE REGARDLESS OF THE
OUTCOME OF YOUR CASE, EVEN IF YOUR COMPLAINT IS DISMISSED BEFORE THE DEFENDANTSARE
' SERVED.

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1. You shall file a complaint by completing and signing the attached complaint form and
mailing it to the Clerk of Court along with the full filing fee of $350.00. (In the event attachments
are needed to complete the allegations in the complaint, no more than three (3) pages of attachments
will be allowed.) If you submit the full filing fee along with the complaint, you DO NOT have to
complete the rest of the forms in this packet. Check here if you are submitting the filing fee with
the complaint form. ——__

2. If you cannot afford to pay the fee, you may file a complaint umder 28 U.S.C.
§ 1915 without paying the full filing fee at this time by completing the following: (1) Complaint
Form; (2) Application To Proceed In Forma Paupens; and (3) Authorization Form. You must
properly complete, sign and submit all three standard forms or your complaint may be returned to
you by the Clerk of Court. Check here jf you are filing your complaint under 28 U.S.C. § 1915
without full prepayment of fees. .

Please Note: [fyour case is allowed to proceed and you are awarded compensatory damages against
a correctional facility or an official or agent of a correctional facility, the damage award will first be
used to satisfy any outstanding restitution orders pending. Before payment of any compensatory
damages, reasonable attempts will be made to notufy the victims of the crime for which you were
convicted conceming payment of such damages. The restitution orders must be fully paid before any
part of the award goes to you.

DO NOT DETACH THE COVER SHEET FRCM THE REST OF THE FORMS
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